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16   Bureau of Consumer Financial Protection
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                        UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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19   Bureau of Consumer Financial         CASE NO. 8:19-cv-01998 MWF (KS)
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20   Protection, et al.,
                                           NOTICE OF FILING OF
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21                                         STIPULATION AND OF
            Plaintiffs,
                                           LODGING PROPOSED STIPULATED
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22                                         FINAL JUDGMENT AND ORDER
           v.                              AS TO RELIEF DEFENDANTS
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                                           1st GENERATION HOLDINGS, LLC
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24   Consumer Advocacy Center Inc., d/b/a
                                           AND INFINITE MANAGEMENT
     Premier Student Loan Center, et al.,
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25                                         CORP.
26
26        Defendants.
                                           Court: Hon. Michael W. Fitzgerald
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27                                         Courtroom 5A
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28                                      1
       NOTICE OF FILING OF STIPULATION AND OF LODGING OF PROPOSED ORDER
 Case 8:19-cv-01998-MWF-KS Document 302 Filed 06/30/21 Page 2 of 3 Page ID #:8805




1          Pursuant to Local Rule 7-1, Plaintiff the Bureau of Consumer Financial
2    Protection (Bureau) hereby files the attached Stipulation as to Entry of Final
3    Judgment and Order as to Relief Defendants 1st Generation Holdings, LLC and
4    Infinite Management Corp., f/k/a Infinite Management Solutions Inc., as agreed to
5    by counsel for the Bureau, the State of Minnesota, the State of North Carolina, and
6    the People of the State of California, and Relief Defendants 1st Generation
7    Holdings, LLC and Infinite Management Corp. Also attached is the [Proposed]
8    Stipulated Final Judgment and Order as to Relief Defendants 1st Generation
9    Holdings, LLC and Infinite Management Corp.
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     Dated: June 30, 2021                   Respectfully submitted,
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11
                                            By: /s/ Sarah Preis
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12                                          Sarah Preis (D.C. Bar No. 997387)
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18                                          Attorney for Plaintiff
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                                            Bureau of Consumer Financial Protection

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        NOTICE OF FILING OF STIPULATION AND OF LODGING OF PROPOSED ORDER
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 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that on June 30, 2021, I caused true and correct copies of the
 3   (1) Notice of Filing of Stipulation and of Lodging Proposed Stipulated Final
 4   Judgment and Order as to Relief Defendants 1st Generation Holdings, LLC and
 5   Infinite Management Corp.; (2) Stipulation as to Entry of Final Judgment and
 6 Order as to Relief Defendants 1st Generation Holdings, LLC and Infinite
 7 Management Corp.; and (3) [Proposed] Stipulated Final Judgment and Order as to
 8 Relief Defendants 1st Generation Holdings, LLC and Infinite Management Corp.
 9 to be served using the CM/ECF system, thereby sending notification of the filing to
10
10 all parties in the case who are registered CM/ECF users, and by email to Michael

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11 Adler, counsel to Judy Dai, at madler@ta-llp.com.

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     Dated: June 30, 2021                  /s/ Sarah Preis
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                                           Sarah Preis
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15                                         Attorney for the Bureau of Consumer
                                           Financial Protection
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        NOTICE OF FILING OF STIPULATION AND OF LODGING OF PROPOSED ORDER
